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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD., et al.

         Plaintiffs,

  v.

  CIRCUITRONIX LLC,

        Defendant.
  ____________________________________/

       UNOPPOSED MOTION FOR LEAVE TO BRING ELECTRONIC DEVICES INTO
              COURT FOR USE DURING THE EVIDENTIARY HEARING

         Defendant, Circuitronix, LLC (“CTX”), moves this Court for entry of an order granting

  CTX permission to bring several laptop computers and power cords into the courthouse for use

  during the evidentiary hearing on January 13, 2023, as well as to allow its two employee

  witnesses to bring their cell phones into the courthouse.

         Specifically, CTX requests leave for Stephen F. Rosenthal, Esq. and Chauncey D. Cole,

  Esq. to be able to bring five (5) laptop computers and their power cords into the courthouse on

  January 13, 2023, so that all participants in the hearing, including the Court, can view certain

  exhibits in digital form.

         In addition, CTX requests leave for Rishi Kukreja and Celin Astudillo to be able to bring

  their cellular telephones into the courthouse. A proposed order is being submitted herewith.




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                 CERTIFICATE OF COMPLAINCE WITH LOCAL RULE 7.1

          Pursuant to Local Rule 7.1(a)(3), the undersigned counsel conferred with J.C. Mazzola,

  Plaintiff’s counsel, on January 10, 2023 regarding the relief sought in this motion, and Plaintiff

  represented that it does not object.

                                                              By: /s/ Stephen F. Rosenthal
                                                                      Stephen F. Rosenthal

  Dated: January 11, 2023


                                         Respectfully submitted

           PODHURST ORSECK, P.A.                        CHAUNCEY COLE, PA
           Co-Counsel for Circuitronix, LLC             Co-Counsel for Circuitronix, LLC
           One S.E. 3rd Avenue, Suite 2300              9100 South Dadeland Blvd., Suite 1553
           Miami, Florida 33131                         Miami, Florida 33156
           Tel.: 305-358-2800                           Tel.: (786) 497-7053

           By: /s/ Stephen F. Rosenthal                 By: /s/ Chauncey D. Cole IV
           Stephen F. Rosenthal                         Chauncey D. Cole, IV, Esq.
           Florida Bar No. 0131458                      Florida Bar No. 102184
           srosenthal@podhurst.com                      chauncey.cole@coletrial.com
           Robert C. Josefsberg
           Florida Bar No. 040856
           rjosefsberg@podhurst.com
           Matthew Weinshall
           Florida Bar No. 84783
           mweishall@podhurst.com
           Christina H. Martinez
           Florida Bar No. 1029432
           cmartinez@podhurst.com




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

  Notices of Electronic Filing generated by CM/ECF on January 11, 2023 as filed with the Clerk of the

  Court using CM/ECF.

                                                              By: /s/ Stephen F. Rosenthal
                                                                      Stephen F. Rosenthal




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